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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA



 PATSY WIDAKUSWARA, et al.,

 Plaintiffs,

 v.
                                                          Civil Action No. 25-1015 (RCL)
 KARI LAKE, Senior Advisor to the Acting
 CEO of U.S. Agency for Global Media, et al.,

 Defendants.




DECLARATION OF TERRY BALAZS

I, TERRY BALAZS, hereby make the following declaration pursuant to 28 U.S.C. § 1746:

          1.   I have been serving in the role of Director of the Office of Technology, Services,

 and Innovation at the U.S. Agency for Global Media (USAGM) since April 2018. Among my

 responsibilities is the oversight of agency facilities and real estate. I base this declaration on

 knowledge and information I have gained in the course of performing my official duties.

          2.   In that capacity, I have personal knowledge of and direct involvement in the

 current agency facilities portfolio.

          3.   Tiffany N. Simon, National Customer Planning Manager, Public Buildings

 Service, U.S. General Services Administration (GSA), informed USAGM by email on March

 27, 2025, that GSA understands that the Wilbur J. Cohen Building, managed by GSA, is no

 longer needed by our agency. The email stated: “This email is notice that GSA is terminating

 your occupancy” (in the Wilbur J. Cohen Building). “Your agency will have a minimum of 120
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days to vacate the space and our personnel are prepared to assist you in finding alternative space

that meets your needs.”

        4.    James Russell, Senior Planning Manager, Public Buildings Service, U.S. General

Services Administration (GSA), informed the agency that he was the Planning Manager who

will work with USAGM to gather high-level requirements to right size the agency’s real estate

portfolio and to begin the relocation process. In a June 10 meeting with Mr. Russell and GSA

representatives, USAGM representatives informed GSA that our agency required occupancy of

the Cohen Building beyond September 30, 2025, in order to continue meeting all statutorily

mandated broadcasting requirements. GSA representatives expressed their understanding of our

broadcasting mission requirements and the complexity involved in relocating agency functions

and the supporting technical infrastructure to another space and agreed to work with the agency

as we take steps to vacate the Cohen Building.

        5.    Michael P. Peters, Commissioner of GSA, also discussed these issues in a June 11,

2025, letter to Ms. Kari Lake, USAGM Senior Advisor. Commissioner Peters said that the

Thomas R. Carver Water Resources Development Act of 2024 directed GSA to sell the Cohen

Building as part of a broader initiative to dispose of underutilized real estate assets. He said that

GSA is working closely with each tenant to assist in vacating the building. He noted that

USAGM and VOA have shared their intention to vacate Cohen and have inquired about the

possibility of remaining beyond the end of the Fiscal Year on September 30, 2025, to gain

timeline flexibility due to the repositioning of personal property and radio and television

equipment. Commissioner Peters said that GSA is flexible to collaborating with USAGM and

VOA on an extension if necessary, including the possibility of a leaseback after any sale. He
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 said that GSA remains dedicated to working with USAGM and VOA to support their efforts to

 vacate the building as efficiently and as soon as possible.

          6.   USAGM will continue to work with GSA on decreasing occupancy of the Cohen

 Building while simultaneously pursuing relocation of USAGM broadcasting mission activities

 to a suitable location. The agency is committed to working with GSA to ensure that it has

 adequate physical facilities to continue all statutorily mandated activities.




I declare under penalty of perjury that the foregoing is true and correct.


Dated: June 13, 2025
Washington, District Columbia


                                                      Phillip T     Digitally signed by
                                                                    Phillip T Balazs

                                                      Balazs        Date: 2025.06.13
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                                                      TERRY BALAZS
